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                  Exhibit 1
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
          NYU LANGONE HOSPITALS,                                                   :
                                                                                   :
                                                   Plaintiff,                      : SUMMONS
                                                                                   :
                    -against-                                                      :
                                                                                   : Index No.
                                                                                   :
          UNITEDHEALTHCARE INSURANCE
                                                                                   : Date Index No. Purchased:
          COMPANY, UNITEDHEALTHCARE OF NEW
                                                                                   :
          YORK, INC.; and OXFORD HEALTH PLANS                                      :
          (NY), INC.,                                                              :
                                                   Defendants.
          - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

          TO THE ABOVE-NAMED DEFENDANT:

                   YOU ARE HEREBY SUMMONED, to answer the Complaint in this action and to serve

          a copy of your answer, or, if the Complaint is not served with this Summons, to serve a notice of

          appearance, on the Plaintiff’s attorney within twenty (20) days after the service of this Summons,

          exclusive of the day of service (or within thirty (30) days after service is complete if this Summons

          is not personally delivered to you within the State of New York); and in the case of your failure to

          appear or answer, judgment will be taken against you by default for the relief demanded in the

          Complaint.

                   This action is brought in the County of New York because Plaintiff’s principal place of

          business is in New York County, and because New York County is the county in which a

          substantial part of the events or omissions giving rise to Plaintiff’s claims occurred.

          Dated: Great Neck, New York
                 May 3, 2024
                                                                       GARFUNKEL WILD, P.C.
                                                                       Attorneys for Plaintiff
                                                                       By:                 /s/ Andrew L. Zwerling
                                                                                         Andrew L. Zwerling


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                                                                   Joshua M. Zarcone

                                                        111 Great Neck Road
                                                        Great Neck, New York 11021
                                                        (516) 393-2200
          TO:     UnitedHealthcare Insurance Company
                  185 Asylum Street
                  Hartford, Connecticut 06103.

                  UnitedHealthcare of New York, Inc.
                  111 8th Avenue
                  New York, New York 10011.

                  Oxford Health Plans (NY), Inc.
                  One Penn Plaza, 8th Floor
                  New York, New York 10119




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
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                                                                                   :
          NYU LANGONE HOSPITALS,                                                   :
                                                                                   : COMPLAINT
                                                   Plaintiff,                      :
                                                                                   :
                    -against-                                                      : Index No.
                                                                                   :
                                                                                   :
          UNITEDHEALTHCARE INSURANCE
                                                                                   :
          COMPANY, UNITEDHEALTHCARE OF NEW                                         :
          YORK, INC.; and OXFORD HEALTH PLANS                                      :
          (NY), INC.,                                                              :
                                                                                   :
                                                   Defendants.                     :
          - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                     Plaintiff NYU Langone Hospitals (“NYU”), by its attorneys, Garfunkel Wild, P.C., hereby

          alleges for its Complaint against Defendants UnitedHealthcare Insurance Company (“UHC”),

          UnitedHealthcare of New York, Inc. (“UHC-NY”), and Oxford Health Plans (NY), Inc.

          (“Oxford”)1 as follows:

                                                       INTRODUCTION

                     1.       This is a breach of contract action by which NYU seeks to recover millions of

          dollars owed for critical health care services rendered to Defendants’ insured members.

                     2.       This action stems from Defendants’ longstanding underpayment of NYU for

          outpatient prescription drugs provided to members of Defendants’ Medicare Advantage benefit

          plans – specifically drugs covered by a federal program designed to reduce drug costs and enable

          hospitals to provide care to underserved populations.




          1
                     UHC and UHC-NY are collectively referred to herein as “United.”
                     UHC, UHC-NY, and Oxford are collectively referred to herein as “Defendants.”
                     NYU and Defendants are collectively referred to herein as the “Parties,” with each individually a
          “Party.”

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                  3.          There is no dispute that NYU rightfully provided health care services to patients

          under its contracts with Defendants, and is entitled to reimbursement for such services. Still,

          Defendants refuse to remedy nearly five years’ worth of obvious underpayments to NYU – instead

          clinging to a payment methodology held to be unlawful by the Supreme Court of the United States.

                  4.          Defendants’ wrongful conduct has inflicted significant financial harm, depriving

          NYU of contractually-earned reimbursement to the tune of over four million dollars.

                  5.          Having exhausted all avenues to resolve this dispute amicably, NYU now brings

          this action seeking recovery from Defendants for breach of contract, unjust enrichment, and/or

          quantum meruit, plus statutory interest.

                                                       THE PARTIES

                  6.          NYU is a nationally-recognized, full-service, academic health system

          headquartered in Manhattan. Through its broad network of hospital campuses and outpatient

          facilities, NYU provides comprehensive, science-driven care to its local communities, and is one

          of the most critical tertiary care providers in the greater New York City area.

                  7.          As a critical care provider serving large volumes of low-income, uninsured, and/or

          underinsured patients, along with many Medicare and Medicaid beneficiaries, NYU participates

          in the federal 340B Drug Pricing Program (see ¶¶ 17-23, infra).

                  8.          NYU is a New York not-for-profit corporation with its principal place of business

          at 550 First Avenue, New York, New York 10016.

                  9.          Defendant UHC is a Connecticut corporation with its principal place of business at

          185 Asylum Street, Hartford, Connecticut 06103.

                  10.         Defendant UHC-NY is a New York corporation with its principal place of business

          at 111 8th Avenue, New York, New York 10011.

                  11.         Defendant Oxford is a New York corporation with its principal place of business at
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          One Penn Plaza, 8th Floor, New York, New York 10119.

                  12.         Both UHC-NY and Oxford are subsidiaries and/or corporate affiliates of UHC

          through common ownership by UnitedHealth Group, Inc., a Minnesota-based corporation.

                  13.         Defendants are members of one of the largest health insurance conglomerates in

          the country (if not the largest), with several million members nationwide and hundreds of billions

          of dollars’ worth of annual revenues.

                                              JURISDICTION AND VENUE

                  14.         The Court has jurisdiction over Defendants because Defendants regularly transact

          business in the State of New York, and because the wrongful conduct alleged in this Complaint

          occurred in New York.

                  15.         Venue is proper because NYU’s principal place of business is located in New York

          County, and because a substantial part of the events and/or omissions giving rise to NYU’s claims

          occurred in New York County.

                  16.         Venue is also proper because the Parties’ contracts, as amended, dictate that any

          legal action or proceeding arising thereunder shall be commenced and maintained before a court

          of competent jurisdiction in New York County.

                                               FACTUAL BACKGROUND

          The 340B Drug Pricing Program

                  17.         Congress designed the 340B Drug Pricing Program (the “340B Program”) to

          protect hospitals from escalating prescription drug prices – particularly hospitals, like NYU, which

          provide services to vulnerable, underserved communities.

                  18.         Codified at Section 340B of the Public Health Service Act (42 U.S.C. § 256(b)),

          the 340B Program allows participating hospitals to acquire certain prescription drugs from

          manufacturers at discounted rates, helping such hospitals stretch their scarce resources and provide

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          comprehensive, critical care to large patient populations.

                  19.         As a participating hospital, NYU uses the savings achieved through the 340B

          Program to offset the significant cost of serving many low-income, uninsured, and/or underinsured

          patients, along with large volumes of Medicare and Medicaid beneficiaries.

          Prescription Drug Reimbursement Under the OPPS

                  20.         The Department of Health and Human Services (“HHS”) administers the Medicare

          program through the Centers for Medicare and Medicaid Services (“CMS”). For services rendered

          to beneficiaries of “original” Medicare (that is, not “Medicare Advantage” plans administered by

          private insurers (see ¶¶ 37-39, infra)), CMS reimburses hospitals according to the Outpatient

          Prospective Payment System (the “OPPS”).

                  21.         The Medicare Act requires CMS to annually review and update the reimbursement

          rates for all items and services payable under the OPPS, including prescription drugs. This process

          is subject to “notice-and-comment” rulemaking, during which CMS publishes its proposed

          reimbursement rates, solicits public input, and later promulgates final rules.

                  22.         CMS may fix OPPS prescription drug reimbursement rates in one of two ways.

          First, CMS may conduct a survey of hospitals’ “acquisition costs” for each covered drug, and set

          reimbursement rates based on the hospitals’ average acquisition costs.                See 42 U.S.C.

          §1395l(t)(14)(A)(iii)(I). Where CMS conducts such a survey, it may set different reimbursement

          rates for different “groups” of hospitals (that is, it may differentiate between hospitals participating

          in the 340B Program, on the one hand, and non-340B hospitals on the other).

                  23.         Second, if CMS does not conduct a survey of acquisition costs, it must set

          reimbursement rates based on the average sales price charged by drug manufacturers (subject to

          certain adjustments made by the Secretary of HHS). Under this method, the statute fixes the



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          applicable reimbursement rate at 106% of the drug’s average sales price.               See 42 U.S.C.

          §1395l(t)(14)(A)(iii)(I). When using this method, CMS cannot vary reimbursement rates between

          340B and non-340B hospitals.

          CMS Unlawfully Slashes 340B Reimbursement Rates

                  24.         Until 2018, CMS uniformly set prescription drug reimbursement rates at

          approximately 106% of the drug’s average sales price, and never set different reimbursement rates

          for 340B and non-340B hospitals.

                  25.         But in 2018 – despite failing to conduct a survey of hospitals’ acquisition costs –

          CMS cut prescription drug reimbursement rates under the OPPS from 106% to 77.5% of the

          average sales price. This reduction applied only to 340B hospitals.

                  26.         CMS’ actions prompted pushback from providers.           The American Hospital

          Association (among other parties) filed a lawsuit against CMS, alleging CMS’ rate reductions had

          unlawfully deprived 340B hospitals of approximately $1.6 billion in annual Medicare

          reimbursement payments.

                  27.         The District Court ruled in favor of the plaintiffs, concluding that CMS exceeded

          its statutory authority by cutting reimbursement rates for 340B hospitals without conducting the

          requisite survey of drug acquisition costs. The District Court remanded the issue to HHS to craft

          an appropriate remedy. See Am. Hosp. Ass’n v. Azar, 385 F.Supp.3d 1 (D.D.C. 2019) (addressing

          the appropriate remedy for CMS’ unlawful rate reductions); Am. Hosp. Ass’n v. Azar, 348

          F.Supp.3d 62 (D.D.C. 2018) (addressing the merits of plaintiffs’ claims against CMS).

                  28.         On appeal, the D.C. Circuit reversed, holding that CMS had statutory authority to

          set different reimbursement rates for 340B and non-340B hospitals. See Am. Hosp. Ass’n v. Azar,

          967 F.3d 818 (D.C. Cir. 2020).



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                  29.         The U.S. Supreme Court granted certiorari, and unanimously reversed the D.C.

          Circuit. In doing so, the Supreme Court held that, because CMS had not conducted a survey of

          acquisition costs, it was unlawful to vary prescription drug reimbursement rates between 340B and

          non-340B hospitals. Am. Hosp. Ass’n v. Becerra, 596 U.S. 724 (2022).

                  30.         While the appeals were pending, CMS continued to apply its unlawful rate

          reductions to 340B hospitals – doing so between approximately January 1, 2018 and September

          28, 2022.

                  31.         In the wake of the Supreme Court’s unanimous decision, the case was remanded to

          the District Court. On remand, the District vacated the rule by which CMS set reimbursement

          rates for calendar year 2022, effectively restoring the default reimbursement rate (106% of average

          sale price) on a going-forward basis. Am. Hosp. Ass’n v. Becerra, 2022 WL 4534617 (D.D.C. Sep.

          28, 2022).

          CMS Retroactively Adjusts Reimbursement Rates
          and Issues Lump-Sum Payments to 340B Hospitals

                  32.         Unfortunately, this outcome did nothing to remedy the billions of dollars’ worth of

          underpayments to 340B hospitals between January 1, 2018 and September 28, 2022. As a result,

          the District Court remanded the matter to HHS “to give the agency the opportunity to remediate

          its underpayments.” Am. Hosp. Ass’n v. Becerra, 2023 WL 143337, at *1 (D.D.C. Jan. 10, 2023).

                  33.         On November 8, 2023, CMS issued a Final Rule (CMS-1793-F) (the “Final Rule”)

          establishing a methodology to compensate 340B hospitals for its unlawful rate reductions. The

          Final Rule announced that CMS would make one-time, lump-sum payments to 340B hospitals

          equal to “the difference between what they were paid for 340B drugs” from 2018-2022 and “what

          they would have been paid had the [unlawful] 340B payment policy not applied.” Medicare

          Program; Hospital Outpatient Prospective Payment System: Remedy for the 340B-Acquired Drug

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         Payment Policy for Calendar Years 2018-2022, 88 Fed. Reg. 77,150.

                 34.         The Final Rule made clear that CMS was “adjust[ing] the prior payment rate” using

         its “retroactive rulemaking authority to implement the remedy by revising 340B payment rates for

         [2018-2022] to comply with the Supreme Court’s interpretation of [the law].” Id. at 77,156.

                 35.         According to CMS, the Final Rule – which became effective January 8, 2024 – “can

         be viewed as a retroactive adjustment to the payment rates for each of 2018 through 2022,”

         pursuant to CMS’ retroactive rulemaking authority under 42 U.S.C. §1395hh(e)(1)(A). Id. at

         77,174 (emphasis added).

                 36.         Because CMS is required to implement rate adjustments in a budget-neutral

         manner, the Final Rule also announced that CMS would recoup its lump-sum remediation

         payments by cutting OPPS reimbursement rates for certain non-drug items and services by 0.5%

         per year. The 0.5% rate reduction becomes effective January 1, 2026, and will continue until the

         lump-sum remediation payments are fully offset – which CMS estimates will take approximately

         sixteen (16) years.

         Medicare Advantage Organizations

                 37.         The Medicare Advantage Program (also known as Medicare Part C) provides an

         alternative to original Medicare. Under this program, private health insurers like Defendants –

         commonly referred to in this context as Medicare Advantage Organizations (“MAOs”) – contract

         with CMS to offer benefit plans to Medicare-eligible beneficiaries.               See generally 42

         U.S.C.1395w-21-22.

                 38.         MAOs receive a fixed monthly payment from CMS, the amount of which varies by

         location. Each year, MAOs submit plan-specific bids which estimate the cost of providing original

         Medicare benefits in the specific counties served by the MAO. CMS then compares those bids



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         against its pre-determined “benchmark” amounts (which also vary by location). If an MAO’s bid

         is less than the applicable benchmark amount, CMS pays the benchmark amount to the MAO, and

         the MAO retains the difference as a so-called “rebate” (subject to certain restrictions on how the

         rebate may be used). Where an MAO’s bid exceeds the applicable benchmark amount, the MAO

         may recover the shortfall by charging its enrollees a premium equal to the difference between its

         bid amount and the benchmark amount. See generally 42 C.F.R. §§ 422.254, 422.304(a),

         422.264(b)-(d), 422.266, 422.262(a)(2).

                 39.         MAOs also contract with healthcare providers, like NYU, to provide services to the

         MAOs’ enrolled beneficiaries. See 42 U.S.C. § 1395w-25(b)(4). Among other terms, these

         contracts include a methodology for calculating reimbursement rates the MAOs will pay to the

         providers for covered services rendered to the MAO’s members.                  In many cases, these

         reimbursement rates are tied directly to the OPPS.

         NYU’s Agreements with United and Oxford

                 40.         NYU participates in United’s network under a certain Provider Agreement effective

         February 1, 1996, which agreement has been updated, amended, and extended from time to time

         (as amended, the “United Agreement”).2

                 41.         NYU participates in Oxford’s network under a Hospital Agreement effective

         October 1, 2003, which agreement has likewise been updated, amended, and extended from time

         to time (as amended, the “Oxford Agreement”) (the United Agreement and Oxford Agreement are

         collectively referred to herein as the “Agreements”).

                 42.         Under the Agreements, NYU provides covered items and health care services to



         2
                 The original signatories to the United Agreement were NYU’s, UHC’s and UHC-NY’s respective
         predecessors: New York University Medical Center, MetraHealth Insurance Company, and MetraHealth
         Care Plan of New York, Inc.

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         Defendants’ insured members, in exchange for reimbursement at negotiated rates (which the

         Parties update from time to time).

                 43.         The United Agreement and Oxford Agreement are annexed hereto as Exhibits 1

         and 2, respectively. The Agreements and the reimbursement rates thereunder are subject to

         confidentiality provisions, and Exhibits 1 and 2 are therefore heavily redacted. Upon request,

         NYU will furnish copies of the Agreements to the Court for in camera review and, at the

         appropriate time, will seek leave to file copies with the Court under seal.

                 44.         For NYU patients enrolled in Defendants’ Medicare Advantage benefit plans, the

         applicable payment methodologies and reimbursement rates are set forth in a certain Facility

         Medicare Advantage Payer Appendix (the “MA Appendix”) negotiated and agreed-upon by the

         Parties. (The MA Appendix is annexed hereto as Exhibit 3 and, for the same reasons as Exhibits

         1 and 2, is heavily redacted.)

                 45.         While CMS does not compel MAOs to adhere to any particular payment method in

         their provider agreements, Defendants have elected to use reimbursement rates/payment

         methodologies that are tied directly to the OPPS.

                 46.         Thus, under the MA Appendix, NYU’s reimbursement rates for items and services

         provided to Defendants’ Medicare Advantage members are based on a percentage of the OPPS, as

         determined annually by CMS.

                 47.         In pertinent part, Section 2.3.3 of the MA Appendix states as follows: “If CMS

         modifies the methodology used to calculate OPPS payments under original Medicare …

         [Defendants] will update [their] methodology used to calculate [NYU’s] contract rate for services

         provided by [NYU] to [Defendants’] Medicare Advantage Customers to be consistent with CMS’s

         methodology.” (emphasis added).



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                 48.         The MA Appendix also dictates that Defendants must update their payment

         methodology within forty five (45) days of CMS’ modification – “[e]xcept, if the effective date is

         earlier than the date on which CMS places information regarding a modification in the public

         domain (for example, a retroactive modification or a change to a previously announced

         modification), [Defendants] will update [their] methodology within 45 days after the date on

         which CMS places that information in the public domain.” (emphasis added).

         Defendants Refuse to Implement
         Contractually-Mandated Rate Adjustments

                 49.         As set forth above, CMS issued the Final Rule in November 2023. By its plain

         language, the Final Rule modified the OPPS methodology to include both retroactive adjustments

         to reimbursement rates and future lump-sum payments to 340B hospitals. See also 88 Fed. Reg.

         at 77,155 (referring to the “lump sum payment methodology”); 77,156 (“Methodology for

         Calculating and Process for Remitting Remedy Payments to Affected 340B Covered Entity

         Hospitals for 340B-Acquired Drugs Furnished and Paid Adjusted Amounts Under the OPPS in

         CY 2018 Through September 27th of CY 2022”).

                 50.         Thus, in order to achieve consistency with CMS’ methodology – as required by the

         Agreements – Defendants must retroactively adjust their own reimbursement rates under the MA

         Appendix and issue lump-sum payment to NYU.

                 51.         On or about March 16, 2023, NYU provided Defendants with a file identifying

         certain underpaid claims for 340B prescription drugs, and requested that Defendants reprocess and

         pay those claims at the appropriate reimbursement rates. Because CMS had not issued the Final

         Rule at that time, the March 16, 2023 file included only claims billed by NYU on or after

         September 28, 2022 (that is, the date on which the D.C. District Court vacated CMS’ unlawful

         340B reimbursement rates for calendar year 2022).

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                 52.         Defendants refused to reprocess any of the claims identified by NYU, asserting they

         were not bound the District Court and/or Supreme Court rulings. In essence, Defendants took the

         position that they fully and properly reimbursed NYU using the unlawful OPPS payment

         methodology in place between January 1, 2018 and September 28, 2022.

                 53.         In the ensuing months, NYU and Defendants exchanged several communications

         detailing their respective positions.

                 54.         During this exchange, Defendants not only refused to remediate their contractual

         underpayments, but also confirmed they did not update their 340B payment methodology until

         December 2, 2022 – more than two months after the D.C. District Court vacated CMS’ unlawful

         2022 OPPS rates. As a result, Defendants – by their own admission – continued to underpay NYU

         for 340B drugs through December 1, 2022.

                 55.         In the wake of the Final Rule – which made clear that CMS was retroactively

         updating its payment methodology for 340B drugs – NYU again sought to resolve this dispute

         through direct discussion with Defendants.

                 56.         Unfortunately, Defendants have refused to engage. Instead, Defendants cling to

         the indefensible position that their 340B drug reimbursement rates were proper and that NYU was

         not underpaid between January 1, 2018 and December 2, 2022 – this despite Defendants’ use of

         an unlawful payment methodology.

                 57.         Defendants’ position plainly conflicts with the Agreements, which compel

         Defendants to update their payment methodology consistent with any modifications made by CMS

         – including retroactive modifications.

                 58.         In short, the Agreements require Defendants to follow CMS’ payment

         methodologies to the letter. By virtue of the Final Rule, CMS’ payment methodologies now



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         include lump-sum payments to 340B hospitals like NYU – which are designed to offset nearly five

         years’ worth of 340B drug underpayments stemming from unlawful rate reductions.

         Defendants Seek A Significant Windfall

                 59.         Failure to make the lump-sum payments, as directed by CMS, will produce a

         windfall for Defendants on multiple fronts.

                 60.         As set forth above, beginning January 1, 2026 CMS will offset its lump-sum

         payments by reducing reimbursement rates for certain outpatient (non-drug) services by 0.5% each

         year. CMS has estimated this rate reduction will remain in place for sixteen years. Accordingly,

         because the MA Appendix is tied to CMS’ payment methodologies, Defendants will pay NYU

         0.5% less for certain non-drug services from 2026 until approximately 2042.

                 61.         But unlike CMS, Defendants never made the lump-sum 340B remediation

         payments. In other words, Defendants seek the best of both worlds: pay NYU nothing now, and

         implement a sixteen-year rate reduction to offset payments it never made. But the Agreements do

         not allow Defendants to cherry-pick the portions of CMS’ payment methodologies it will follow.

                                               FIRST CAUSE OF ACTION

                 62.         NYU repeats and realleges the above allegations as if fully set forth herein.

                 63.         The Agreements (including the MA Appendix, which is fully incorporated into the

         Agreements) are valid and enforceable contracts between NYU and Defendants.

                 64.         Pursuant to the Agreements, NYU agreed to provide covered health care items and

         services to Defendants’ insured members. In return, Defendants agreed to reimburse NYU at the

         negotiated rates.

                 65.         At all relevant times, NYU has fully complied with its duties and obligations under

         the Agreements.



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                 66.         Under the MA Appendix, Defendants must adhere to the reimbursement rates and

         payment methodologies promulgated by CMS. In the event CMS modifies such reimbursement

         rates and/or payment methodologies – including retroactive modifications – Defendants must

         update their own methodologies to achieve consistency with CMS.

                 67.         Defendants have breached the Agreements by, inter alia, refusing to adhere to the

         reimbursement rates and payment methodologies promulgated by CMS. Namely, Defendants have

         refused to comply with the Final Rule, which updated CMS’ payment methodologies to include

         retroactive rate increases and lump-sum payments to 340B hospitals such as NYU.

                 68.         As a result, Defendants have underpaid NYU for certain prescription drugs

         provided to members of Defendants’ Medicare Advantage plans between approximately January

         1, 2018 and December 1, 2022.

                 69.         Defendants have also breached the covenant of good faith and fair dealing implied

         in the Agreements by, inter alia, refusing to adhere to the reimbursement rates and payment

         methodologies promulgated by CMS, and by using unlawful Medicare/OPPS reimbursement rates

         to calculate payments due to NYU. In doing so, Defendants have deprived NYU of the benefit of

         the bargain under the Agreements.

                 70.         NYU timely notified Defendants of their breaches of the Agreements, but

         Defendants have refused to take any corrective action.

                 71.         By reason of the foregoing, NYU has been damaged in an amount to be determined

         at the trial of this matter, which amount is not less than approximately $4.3 million.

                 72.         Based on the above, NYU is entitled to recovery from Defendants in an amount to

         be determined at the trial of this matter, which amount is not less than approximately $4.3 million,

         plus interest thereon, plus costs, disbursements, and reasonable attorneys’ fees.



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                                              SECOND CAUSE OF ACTION

                 73.         NYU repeats and realleges the above allegations as if fully set forth herein.

                 74.         This cause of action is pled in the alternative, and only to the extent the Agreements

         do not cover the subject matter of this dispute. This cause of action is based on Defendants’

         engagement in wrongful conduct, described above, which has generated a windfall for Defendants.

                  75.        By refusing to comply with the Final Rule, employing an unlawful reimbursement

          methodology, and refusing to remediate nearly five years’ worth of underpayments for certain

          prescription drugs provided by NYU to members of Defendants’ Medicare Advantage plans,

          Defendants have paid NYU substantially less than what NYU is entitled to receive for its services.

                  76.        As a result of these underpayments, Defendants have been unjustly enriched at

          NYU’s expense.

                  77.        Under the circumstances described herein, it would be against equity and good

          conscience for the Court to permit Defendants to retain the difference between the (unlawful)

          rates Defendants paid NYU and the (lawful) rates NYU is entitled to receive under CMS’ updated

          payment methodology set forth in the Final Rule.

                  78.        By reason of the foregoing, NYU has been damaged in an amount to be determined

          at the trial of this matter, which amount is not less than approximately $4.3 million.

                  79.        Based on the above, NYU is entitled to recovery from Defendants in an amount to

          be determined at the trial of this matter, which amount is not less than approximately $4.3 million,

          plus interest thereon, plus costs, disbursements, and reasonable attorneys’ fees.

                                               THIRD CAUSE OF ACTION

                 80.         NYU repeats and realleges the above allegations as if fully set forth herein.

                 81.         This cause of action is pled in the alternative, and only to the extent the Agreements

         do not cover the subject matter of this dispute. This cause of action is based on the fact that NYU

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         provided certain outpatient prescription drugs to members of Defendants’ Medicare Advantage

         benefit plans, and did so in good faith and at the behest of Defendants.

                 82.         Defendants knowingly and voluntarily accepted the items and services provided by

         NYU, and Defendants knew that NYU reasonably expected to be paid for such items and services

         consistent with the reimbursement rates and methodologies promulgated by CMS.

                 83.         Despite Defendants’ acceptance of NYU’s services, and despite NYU’s reasonable

         expectation of payment according to the rates and methodologies promulgated by CMS,

         Defendants have refused to correct the underpayments identified herein.

                 84.         By reason of the foregoing, NYU has been damaged in an amount to be determined

         at the trial of this matter, based on the fair and reasonable market value of the items and services

         provided, which amount is not less than approximately $4.3 million.

                 85.         Based on the above, NYU is entitled to recover from Defendants, in quantum

         meruit, the fair and reasonable market value of items and services rendered to members of

         Defendants’ Medicare Advantage Plans, in an amount to be determined at the trial of this matter,

         which amount is not less than approximately $4.3 million, plus interest thereon, plus costs,

         disbursements, and reasonable attorneys’ fees.

                  WHEREFORE, NYU respectfully requests the following relief:

                             (a)    On the First Cause of Action, damages in an amount to be determined at
                                    trial, which amount is not less than approximately $4.3 million, plus interest
                                    thereon, plus costs, disbursements, and reasonable attorneys’ fees;

                             (b)    On the Second Cause of Action, damages in an amount to be determined at
                                    trial, which amount is not less than approximately $4.3 million, plus interest
                                    thereon, plus costs, disbursements, and reasonable attorneys’ fees;

                             (c)    On the Third Cause of Action, damages in an amount to be determined at
                                    trial, which amount is based on the fair and reasonable market value of
                                    services rendered by NYU, and is not less than approximately $4.3 million,
                                    plus interest thereon, plus costs, disbursements, and reasonable attorneys’
                                    fees;

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                             (d)   On all Causes of Action, statutory interest, plus costs, disbursements, and
                                   reasonable attorneys’ fees; and

                             (e)   Such other and further relief as the Court may deem just and proper.

         Dated: Great Neck, New York
                May 2, 2024
                                                          GARFUNKEL WILD, P.C.
                                                          Attorneys for Plaintiff NYU Langone Hospitals

                                                          By:              /s/ Andrew L. Zwerling
                                                                        Andrew L. Zwerling
                                                                        Joshua M. Zarcone

                                                          111 Great Neck Road
                                                          Great Neck, New York 11021
                                                          (516) 393-2200



         TO:     UnitedHealthcare Insurance Company
                 185 Asylum Street
                 Hartford, Connecticut 06103.

         TO:     UnitedHealthcare of New York, Inc.
                 111 8th Avenue
                 New York, New York 10011.

         TO:     Oxford Health Plans (NY), Inc.
                 One Penn Plaza, 8th Floor
                 New York, New York 10119




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                  The MetraH_ealth                             Provider              Agreement


                            NewYork               University Medical Center




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              IN WITNESS
                                WHEREOF. lhe parties hereto have executed this Agreement effective as of" the date execuled by us
              E fl'eclive   Dale").                                                                                                 below




          The MetraHealth Insurance                                                 New York University Medical
          Company and it's affiliates                                               Center



         By:
                     R. Channing WMeler
                     Senior Vice President of Operations
                                                                                                 TheresaBischoff
                                                                                   Executive Vice President & De pg         Provost

         Effective Date:
                                                                                   Date:




                                .+ .



        MetraHealth Care Plan of
        New York,                Inc.                                          New York University Medical
                                                                               Center

        By:                                                                   550 First Avenue
                   R. Channing          Wheeler                     --"-
                  President                                                   New York, New York 10016

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                 For administrative ease and efficiency, Oxford has placed the Signature Page of this HOSPITAL
                            AGREEMENT at the front rather than at the back page of this document.

                                                                             OXFORD HEALTH PLANS (NY), INC.
                                                                             OXFORD HEALTH INSURANCE, INC.
                                                                                              HOSPITALAGREEMENT
                                                                                                SIGNATUREPAGE

                     IN WITNESS WHEREOF, Hospital and Oxford Health Plans (NY), Inc. and Oxford Health
             Insurance, Inc. have executed this HOSPITAL AGREEMENT as set forth below. This HOSPITAL
             AGREEMENT shall be effective on October 1, 2003 (the "Effective Date").




         NYU HOSPITALSCENTER                                                                     OXFORD HEALTH PLANS (NY), INC.
                     ...-..,                                                       :':-'--"        XFORD-HEAE
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        Signed:

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             United Medicare 7/15/2011

                          Facility Medicare Advantage Payer Appendix


             Faciliÿ, Name(s): NYU HOSPITALS CENTERÿ Tisch, Rusk Institute of Rehabilitation Medicine
                                              and Hospital for Joint Diseases




            Effective Date of this Appendix: July 15,2011

                                                   APPLICABILITY

            Unless anodaer appendix to the Agreement applies specifically to a particular Benefit Plan that
            covers United Medicare Customers, the provisions of this Appendix apply to Covered Services
            rendered by Facility to United Medicare Customers enrolled in Medicare Advantage benefit
            plans.
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            (b)   Updates: If CMS modifies the methodology used to calculate OPPS payments under
            original Medicare (that is Medicare Part A and Part B) or the !Vledicare Advantage Program,
            United will update its methodology used to calculate Facility's contract rate for services provided
            by Facility to United Medicare Customers to be consistent with CMS' methodology. This update
            will occur as close to the CMS effective date as is reasonably possible, but in no case later than
            45 days after the effective date of CMS' modification. Except, if the effective date is earlier than
            the date on which CMS places information regarding a modification in the public domain (for
            example, a retroactive modification or a change to a previously announced modification), United
              ill update its methodology within 45 days after the date on which CMS places that information
            in the public domain.
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